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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                             Case No.: 6:18-cv-01601-RBD-GJK

 ESR PERFORMANCE CORP., a Florida                   )
 corporation,                                       )
                                                    )
        Plaintiff and Counter-Defendant,            )
                                                    )
 vs.                                                )
                                                    )
 JVMAX, INC., a Florida corporation,                )
                                                    )
        Defendant and Counter-Claimant.             )
                                                    )
                                                    )

                                  NOTICE OF MEDIATION

       In compliance with the February 6, 2019 Case Management and Scheduling Order, the

Parties have selected Jim Matulis as their mediator and have agreed to participate in mediation

on July 9, 2019, at the offices of Nelson Mullins Broad and Cassel, 390 North Orange Avenue,

Suite 1400, Orlando, FL 32801.



Dated: February 20, 2019

                                                    /s/ Erin K. Barns
                                                    Erin K. Barns, Esq.
                                                    (Pro Hac Vice, CA Bar No. 286865)
                                                    Wirtz Law APC
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                                                    Attorney for Plaintiff and Counter-Defendant,
                                                    ESR Performance Corp.




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this February 20, 2019, a true and correct copy of the
foregoing was filed with the Clerk of the Court using the CM/ECF system and served on all parties
or their counsel of record indicated on the Service List below through the CM/ECF system or some
other authorized manner.

                                            By: /s/ Erin K. Barns
                                                Erin K. Barns, Esq.

                                        SERVICE LIST

 Nelson Mullins Riley & Scarborough LLP            Maxey Law Offices, PLLC
 Nicolette C. Vilmos                               William R. Brees
 390 North Orange Ave., Suite 1400                 Brittany J. Maxey
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 San Diego, CA 92122

 Attorneys for Plaintiff and Counter-
 Defendant, ESR Performance Corp.




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